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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION




   UNITED STATES OF AMERICA

   v.                                               CASE NO. 8:06-cr-508-T-23MAP

   BIBI SHANAZ LALL
   _________________________________/



     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


         The defendant moved (Doc. 19) to suppress statements and requested a hearing.

   The court referred (Doc. 20) the matter to Magistrate Judge Pizzo, who conducted a

   hearing and issued his report and recommendation (Doc. 48). No party filed objections

   to the report and recommendation.

         Having examined the papers and reviewed Magistrate Judge Pizzo's report and

   recommendation, the court adopts the report and recommendation. The motion to

   suppress (Doc. 19) is DENIED.

         ORDERED in Tampa, Florida, on May 23, 2007.
